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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 22-CIV-21673-DPG
                              Bankruptcy case no.: 21-21661-RAM

 IN RE:

      VANESSA CHIU

                        Debtor,

                                  /


                 MEMORIAL HEALTHCARE SYSTEM’S
    UNOPPOSED MOTION TO SUSPEND APPEAL FROM BANKRUPTCY COURT

          Pursuant to S.D. Fla. L.R. 7.1, Memorial Healthcare System (“Memorial”), respectfully

 moves this Court to suspend its appeal from Bankruptcy Court that it filed on June 1, 2022 [DE 1;

 DE 5, DE 5-1, DE 5-2, DE 5-3], and, in support thereof, states as follows:

          1.     On May 19, 2022, the Bankruptcy Court granted in-part the debtor’s Motion for

 Contempt and Sanctions against Memorial. [DE 61].

          2.     On May 24, 2022, Memorial filed a Motion to Reconsider the Bankruptcy Court’s

 Order on the debtor’s Motion for Contempt and Sanctions. [DE 62]. That same day, Memorial

 filed a notice of hearing on its Motion for Reconsideration, which is currently set before the

 Bankruptcy Court on July 12, 2022 at 9:00 AM. [DE 65].

          3.     On May 27, 2022, to preserve its appellate remedies, Memorial filed its Notice of

 Appeal and Election to Appeal to District Court. [DE 66].

          4.     On June 10, 2022, Memorial directed the Clerk to transmit several documents for

 appeal to the District Court. [DE 70; DE 72; DE 72-1; and DE 72-2].

          5.     On June 27, 2022, the Clerk transmitted the appeal to the appeal to the District

 Court. [DE 75].
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         6.      Counsel for Memorial has conferred with opposing counsel who has no objection

 to the instant motion.

         Wherefore Memorial respectfully requests that this Court grant its motion to suspend its

 appeal, and to extend the time period to file its initial brief, if needed, until 30 days after the entry

 of an order on its Motion for Reconsideration. See In re Woide v. Fed. Nat’l Mortg. Ass’n, No.

 6:10-BK-22841-KSJ, 2017 WL 477706, at *4 (M.D. Fla. Feb. 6, 2017), aff'd sub nom. In re

 Woide, 730 F. App’x 731 (11th Cir. 2018).

 Dated July 8, 2022                                         Respectfully Submitted,

                                                             /s/ Frank P. Rainer
                                                             Frank P. Rainer, Esq. (Fla. Bar # 436518)
                                                             FRainer@mhs.net
                                                             Memorial Healthcare System
                                                             3111 Stirling Road
                                                             Hollywood, FL 33322
                                                             (954)265-5341
                                                             Attorney for Memorial Healthcare
                                                             System

                                   CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served by electronic filing

 via CM/ECF on July 8, 2022, on all counsel or parties of record on the Service List below.

                                                              /s/ Frank P. Rainer
                                                                 Frank P. Rainer




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                                CERTIFICATE OF ADMISSION

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

 for the Southern District of Florida and I am in compliance with the additional qualifications to

 practice in this court as set forth in Local Rule 2090-1(A).

                        CERTIFICATE OF COUNSEL CONFERENCE

        On July 5, 2022, Associate General Counsel, Scott R. Strauss, contacted counsel for the

 debtor, Jose A. Blanco, by the telephone and by electronic mail, on July 7, 2022, who does not

 oppose the instant motion.

                                          SERVICE LIST
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